                       Case 1:19-cv-00386-MC              Document 14         Filed 02/24/20          Page 1 of 4
                                                                            FILE.if20 FEB 2415:151JSDC-ORt-t
Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




                                        UNITED STATES DISTRICT COURT
                                                                for the

                                                           District of Oregon




                                                                   )      Case No.       1: 19-cv-00386-MC
                                                                   )                     (to be filled in by the Clerk's Office)
                      Willie James Walker                          )
                              P laintiff(s)                        )
                                                                   )      Jury Trial: (check one)     D Yes D No
                                                                   )
                                                                   )
                                  -v-
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                       Nick Faulkenhagen                           )
                             Defendant(s)                          )
                                                                   )




                                                   AMENDMENT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                          Willie James Walker
                                Street Address                PO Box 875
                                City and County               Eagle Point
                                State and Zip Code            Oregon 97524
                                Telephone Number              (541 )-840-3399
                                E-mail Address                willie.walkerfatvahoo.com
                       Case 1:19-cv-00386-MC               Document 14       Filed 02/24/20   Page 2 of 4

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




      B.                The Defendant(s)

                             Defendant No. I
                                Name                         Nick Faulke~en
                                Job or Title (if known)       Medford Police Officer
                                Street Address
                                City and County               Eagle Point
                                State and Zip Code            Oregon 97524
                                Telephone Number
                                E-mail Address (if/mown)


                                E-mail Address (ifknown)




II.        Statement of Claim

           Custodial Interference/child endangerment,
           03/2017 - 747 Highland Dr Medford Oregon
           Officer Faulkenhagen allowed the non-custodial parent to take my child without consent, Non-custodial parent
           did not have a valid drivers licenses nor auto insurance, she had left children home alone for hours to go gamble.

           Failure to secure home/unlawful entry
           03/2017 - 747 Highland Dr Medford Oregon
           Officer Faulkenhagen Arrested me and allowed nonresident to enter my home and take what they wanted as well
           as left all doors and windows opened during my holding.

           Nonuse oflaw enforcement code of ethics
           03/2017 - 747 Highland Dr Medford Oregon
           Officer Faulkenhagen refused the testimony of witness on my behalf, instead threatened to arrest unless he left
           premises




                                                                                                                     Page2of 4
                        Case 1:19-cv-00386-MC           Document 14        Filed 02/24/20       Page 3 of 4

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




III.      Relief

         During this ordeal the non-custodial parent moved my son out of the state illegally, I have had taken from me
and my son the time together that we will never get back nor can any amount of money, I just want my son returned to
me along with the items that were taken from my home,
Cuban Link 26in 24 karat gold necklace valued at 1450.
3 karat cluster diamond ring valued at 3000
Cuban cigar box with rare coins value unknown
Axiom Citizen watch valued at 300
Diamond, Ruby, Emerald Jamaican flag necklace, value unknown sentimental was given from brother in military as gift

I feel that I am entitled to this because had a nonresident of my home/dwelling been allowed to enter without my consent
I would still have my personal belongings




IV.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal ofmy case.

                     Date of signing:              02/21/2020


                     Signature of Plaintiff
                     Printed Name of Plaintiff      Willie James Walker
                        Case 1:19-cv-00386-MC      Document 14   Filed 02/24/20   Page 4 of 4

Pro Se l (Rev. 12/16) Complaint for a Civil Case




     B.        For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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